             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
          CRIMINAL CASE NO. 1:18-cr-00146-MR-WCM-1


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
         vs.                     )                  ORDER
                                 )
                                 )
TANNER MOREN EAGLE LARCH,        )
                                 )
                   Defendant.    )
________________________________ )


     THIS MATTER is before the Court on the Defendant’s letter [Doc. 124]

received by the Court on September 21, 2020.

      On January 7, 2020, the Defendant was found guilty following a trial

by jury of two counts of possession of a firearm after having been convicted

of a felony. [Doc. 83]. On June 25, 2020, the Court sentenced the Defendant

to a term of 92 months’ imprisonment. [Doc. 274]. The Defendant filed a

notice of appeal of this Judgment on June 29, 2020. [Doc. 108]. The Fourth

Circuit Court of Appeals appointed the Defendant’s trial counsel as counsel

on appeal. [Doc. 113]. On July 10, 2020, the Court of Appeals granted

counsel’s motion to withdraw and appointed another attorney to represent




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the Defendant on appeal. [Doc. 115]. The Defendant’s appeal remains

pending.

      On September 21, 2020, the Court received the present letter from the

Defendant, in which he appears to assert claims of ineffective assistance

against his trial counsel. [Doc. 124]. The Court will construe the Defendant’s

letter as a motion seeking relief based on allegations of ineffective

assistance.

      Generally speaking, the filing of a notice of appeal divests the district

court of jurisdiction over a case. See United States v. Wooden, 230 F. App’x

243, 244 (4th Cir. 2007) (per curiam). “The filing of a notice of appeal is an

event of jurisdictional significance – it confers jurisdiction on the court of

appeals and divests the district court of its control over those aspects of the

case involved in the appeal.” Griggs v. Provident Consumer Discount Co.,

459 U.S. 56, 58 (1982) (per curiam). As such, this Court lacks jurisdiction to

entertain the Defendant’s motion.

      Moreover, the Defendant is currently represented by counsel on

appeal. The Court does not ordinarily entertain motions filed by a criminal

defendant who is represented by counsel and who has not formally waived

his right to counsel. See LCrR 47.1(g). Thus, even if the Court could


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exercise jurisdiction over the Defendant’s motion, it would be denied as

improperly filed.

      IT IS, THEREFORE, ORDERED that the Defendant’s letter, which the

Court construes as a motion [Doc. 124], is DENIED.

      IT IS SO ORDERED.




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